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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

 In re:                                    )
                                           )
 11380 SMITH ROAD, LLC,                    )     Case No. 18-10965
 EIN: XX-XXXXXXX,                          )     Chapter 11
                                           )
         Debtor.                           )
                                           )
 _____________________________________________________________________________

          11380 EAST SMITH RD INVESTMENTS, LLC’S, MOTION: (I) FOR
      RELIEF FROM THE AUTOMATIC STAY PURSUANT TO SECTION 362(D)(1)
             OF THE BANKRUPTCY CODE; AND (II) TO DISMISS THIS
     CHAPTER 11 BANKRUPTCY CASE FOR BAD FAITH PURSUANT TO SECTION
                      1112(B) OF THE BANKRUPTCY CODE


         COMES NOW 11380 East Smith RD Investments, LLC (“Lender”), the Debtor’s
 prepetition secured lender, for its Motion: (I) for Relief From the Automatic Stay Pursuant to
 Section 362(d)(1) of the Bankruptcy Code; and (II) to Dismiss this Chapter 11 Bankruptcy Case
 for Bad Faith Pursuant to Section 1112(b) of the Bankruptcy Code (the “Motion”). In support of
 the Motion, Lender states as follows:

                                             Introduction

         1.      This Chapter 11 case is the poster child for “bad faith” single asset real estate
 cases as practically all of the Little Creek factors are satisfied in addition to other relevant factors
 under applicable case law of this District. The Debtor’s only meaningful asset in this case is the
 real estate it owns, and the Debtor was formed for the purpose of generating income from
 commercial leases by tenants who are owned solely by the Debtor’s equity. The leases have
 been in default and non-performing since the middle of 2017 with no efforts by the Debtor to
 enforce the terms thereof. The Debtor commenced this case on the eve of the Lender’s properly
 noticed Trustee’s Sale that was initiated on account of Lender’s note maturing by its terms over 5
 months prepetition and remaining unpaid. The Debtor has no business operations, generates no
 cash flow, and has not found replacement tenants for the property since the current tenants (both
 of whom are owned by the Debtor’s principal) quit paying rent since the middle of 2017. The
 Debtor has no employees, no other meaningful assets, and only has two remaining unpaid
 unsecured creditors. Thus, this case neatly fits within that “certain recurring” fact pattern which
 the Little Creek factors were modeled after for findings of bad faith under both Sections
 362(d)(1) and 1112(b) of the Bankruptcy Code. Perhaps the only distinguishing factor from
 Little Creek type cases is that Lender is oversecured.

        2.      Adding to the “conglomerate” of bad faith Little Creek facts, just days before this
 case was filed, the Debtor received an offer of $5,500,000 to purchase the property which would



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 have paid off all of the Debtor’s creditors in full and produced a return of more than $700,000 to
 the Debtor’s equity. However, as testified to at the 341 Meeting, the Debtor never informed the
 Lender of such offer and rejected the offer because “it was too low”. Such facts highlight that
 the Debtor is purely interested in finding the highest price possible in order to maximize the
 return to its equity holder while ignoring its duties to its creditors. Further underscoring the
 Debtor’s self-interested approach and bad faith in this case, is that the Debtor’s plan requests 1
 year to either sell the property or refinance the note while at the same time asking the Court to
 lower the bargained for interest rate from 28% under the Note. Debtor’s requests result in
 additional delay while depriving Lender of its only adequate protection, i.e., the accrual of
 default interest. In this solvent estate where all creditors will be paid in full upon a sale of the
 property, Debtor should not be permitted to delay a disposition of the property—purely
 motivated by Debtor’s equity’s self-interests in obtaining the highest price possible—while
 avoiding paying bargained for default interest. Such a scenario unjustifiably takes the dollar out
 of Lender’s pocket and puts it directly into Debtor’s equity’s pocket. Bankruptcy relief cannot
 be used under these circumstances.

        3.     Accordingly, Lender submits that this Chapter 11 case was filed in bad faith and
 that “cause” exists to grant relief from the automatic stay under Section 362(d)(1) of the
 Bankruptcy Code, and dismiss the case under Section 1112(b). However, to the extent the Court
 does not dismiss the Debtor’s case, “cause” still exists to convert the case to Chapter 7 as doing
 so would also be in the best interests of all creditors.

                                     Jurisdictional Statement

        4.     This Court has jurisdiction over this Chapter 11 case pursuant to 28 U.S.C. §§
 157(a)-(b), and 1334(a)-(b). This matter constitutes a core proceeding under 28 U.S.C. §
 157(b)(2)(A) and (G). Venue is proper in this Court pursuant to 28 U.S.C. § 1409. The statutory
 and rule based predicates for the relief requested in the Motion are Sections 362(d)(1) and (3),
 and 1112(b) of the Bankruptcy Code, Rules 4001 and 1017 of the Bankruptcy Rules and L.B.R.
 2081-3 and 4001-1.

                                            Background

 A.      Prepetition Loan Obligations.

         5.     On October 25, 2016, the Debtor made, executed and delivered its promissory
 note to Lender in the principal amount of $3,000,000 (the “Note”) as required under that certain
 loan agreement between Debtor and Lender (the “Loan Agreement”). A true and correct copy
 of the Note and Loan Agreement are attached hereto as Exhibit A.

        6.      On October 25, 2016, in order to secure the obligations due and owing under the
 Note, the Debtor executed a Deed of Trust, Security Agreement, Financing Statement and
 Assignment of Rents and Revenues (the “DOT”) in favor of Lender. A true and correct copy of
 the DOT is attached hereto as Exhibit B.




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        7.     The DOT granted Lender a first-position security interest in the real property
 commonly known as 11380 East Smith Road, Aurora, Colorado 80010 (the “Property”).
 Lender perfected its security interest in the Property, on October 26, 2016, when it recorded a
 copy of the DOT with the Clerk and Recorder of Adams County, Colorado, as Reception No.
 2016000091839.

        8.      To further secure the obligations due and owing under the Note, Debtor executed
 an Assignment of Rents and Leases (the “AOR”) in favor of lender. A true and correct copy of
 the AOR is attached hereto as Exhibit C.

        9.      The AOR granted a security interest to Lender in all of the “rents, issues,
 earnings, income, profits, benefits and advantages arising from the Property and from said
 Leases and all other sums due or to become due under and pursuant thereto . . .”. (Ex. C at p. 2).
 On October 26, 2016, Lender recorded a copy of the AOR with the Clerk and Recorder of
 Adams County, Colorado, as Reception No. 2016000091840.

        10.    In connection with the loan, Debtor presented Lender with two separate leases
 which burdened the Property. The first lease was between the Debtor and Hi-Tec Plastics, Inc.
 (“HTP”), with a term that runs through December 31, 2018 2018 (the “HTP Lease”). The
 second lease was between the Debtor and Hi-Tec Recycling, Inc. (“HTR”), with a term that runs
 through December 31, 2018 (the “HTR Lease”). A true and correct copy of the HTP Lease and
 the HTR Lease are attached hereto as Exhibit D.

       11.    The Debtor’s authorized representative and sole equity holder, Mr. Louis Hard
 (“Mr. Hard”), is the registered agent for both HTP and HTR.

        12.    Debtor failed to make the regular payments due under the Note for the months of
 July 2017, August 2017, September 2017 and October 2017. Attached hereto as Exhibit E is the
 Affidavit of Mr. Patrick Dunn.

        13.     On October 25, 2017, the Note matured by its terms, and the Debtor failed to
 repay the obligations due and owing thereunder according to the terms thereof. See Ex. E.

        14.     Prior to the commencement of this Chapter 11 case, Lender had properly noticed
 a Trustee’s Sale of the Property that was set for February 14, 2018 at 10:00 a.m. (the “Trustee’s
 Sale”). A true and correct copy of the notice of Trustee’s Sale is attached hereto as Exhibit F.

 B.      The Debtor’s Bankruptcy Case.

       15.     On February 13, 2018 (the “Petition Date”), the Debtor initiated this bankruptcy
 case when he filed his voluntary petition for relief under Chapter 11 of the Bankruptcy Code.
 (Docket No. 1).

        16.    The Debtor filed this case as a single asset real estate entity as such term is
 defined under Section 101(51B) of the Bankruptcy Code. (Id. at p. 2).



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        17.     The Debtor’s Summary of Assets and Liabilities indicate that the Debtor is
 solvent with assets totaling $9,136,236.52 and liabilities totaling $4,763,638.47. (Id. at p. 12).

               18.            The Debtor’s Schedule A identifies the Property. (Id. at p. 13).

        19.    The Debtor’s Schedule B identified only three assets: (i) intercompany loans
 between the Debtor and HTR and HTP in the amount of $4,365,682.00 which the Debtor
 acknowledged are likely uncollectible; (ii) A/R in the amount of $135,752.22; and (iii) a legal
 claim against an insurance company relating to a hail damage claim that the Debtor values at
 $2,500,000. (Id. at p. 13-15).

         20.    The Debtor’s Amended Schedule D values the Property at $6,500,000.00 and
 identified Lender’s secured claim in the amount of $3,531,638.47 and a secured claim in favor of
 the Adams County Treasurer in the amount of $56,752.39. (Docket No. 36).

       21.     The Debtor’s Amended Schedule F identified only three unsecured creditors: (i)
 Tim Henzel in the amount of $1,200,000 (“Henzel”), (ii) Owners Insurance Company in an
 “unknown” amount that is disputed, contingent and unliquidated, and (iii) Xcel Energy in the
 amount of $32,000. (Docket No. 37).

        22.    The Debtor’s Schedule G says that the Debtor has no executory contracts and/or
 unexpired leases. (Id. at p. 20).

               23.            The Debtor is owned entirely by Mr. Hard. (Docket No. 5).
  
 C.            The Debtor’s 341 Meeting.

          24.    On March 23, 2018, Mr. Hard testified on behalf of the Debtor at the first meeting
 of creditors (the “341 Meeting”). Additionally, the Debtor’s bookkeeper, Ms. Gallegos, also
 testified under oath at the 341 Meeting. A complete transcript of the 341 Meeting is attached
 hereto as Exhibit G.1

               25.            The Debtor testified to, inter alia, the following facts:

                           i.        Mr. Hard was personally the sole owner of both HTR and HTP. (Ex. G at 8:3-
                                     11);

                          ii.        That Debtor’s purpose was to collect the rents from both HTR and HTP. (Id.
                                     at 8:18-21);

                         iii.        That, historically, the Debtor had no routine operating expenses and that the
                                     rents were paid “just on the mortgage”. (Id. at 9:1-15);


                                                             
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  In addition to the Transcript of the 341 Meeting, the Lender can supply the audio recording of the 341 Meeting it
 has received from the Office of the United States Trustee for the Court’s convenience.

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               iv.   That HTR and HTP stopped paying rent to the Debtor in the middle of 2017
                     which, in part, led to the Debtor’s filing for bankruptcy; (Id. at 17:20-20:7);

                v.   That HTR was liquidated in December of 2017, and that HTP was sold to
                     Universal Plastics (“Universal”) in January of 2018; (Id. at 8:8-17);

               vi.   That HTR and HTP are no longer operating their businesses at the Property;
                     (Id.);

              vii.   That HTR and HTP are not currently paying rent to the Debtor. (Id. at 25:23-
                     25);

             viii.   That the HTR Lease and HTP Lease have not been terminated. (Id. at 50:4-
                     19);

               ix.   That the Debtor permits Universal, pursuant to an unwritten understanding, to
                     remain in the Property charging it only $200 per day commencing in the
                     month of April 2018. (Id. at 58:24-59:11);

                x.   That Xcel Energy’s prepetition debt was paid in full after the Petition Date
                     with money loaned by HTP. (Id. at 60:6-18);

               xi.   That Debtor has taken no steps to enforce any claims it may have against HTR
                     and HTP for breach of their respective leases; (Id. at 50:4-16);

              xii.   That Debtor has some existing A/R against some former tenants who used to
                     occupy a property the Debtor previously owned. (Id. at 61:14-62:20);

             xiii.   That Debtor has taken no formal action to collect the A/R owing from the
                     former tenants, and that such A/R is approximately 6 months past due. (Id. at
                     62:14-15);

             xiv.    That Debtor received an offer before the Petition Date to sell the Property for
                     $5.5 million. (Id. at 52:6-20);

              xv.    That Debtor did not accept the offer to purchase the Property because “it was
                     too low” and that the sale could not be closed before the Trustee’s Sale. (Id.
                     at 53:1-9);

             xvi.    That Debtor values the Property at $6,500,000 upon receiving a broker’s
                     opinion of valuation, but has also received an appraisal that valued the
                     Property at $8,250,000. (Id. at 50:20-51:16);

             xvii.   That Debtor never informed Lender, at any point, of the $5.5 million offer to
                     purchase the Property (Id. at 53:10-12); and



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             xviii.    That Henzel loaned the Debtor $1.2 million on an unsecured basis. (Id. at
                       46:13-22; 53:13-55:14).

 C.      The Debtor’s Proposed Chapter 11 Plan.

       26.    On March 23, 2018, the Debtor filed its Plan of Reorganization (the “Plan”) and
 accompanying Disclosure Statement (the “Disclosure Statement”). (Docket Nos. 53-54).

        27.     The Plan alleges that Lender’s secured claim is unimpaired and proposes to treat
 such claim as follows:

         Class 2. 11380 East Smith Rd Investments, LLC. The holder of the allowed
         secured claim in Class 2 will be paid from the Net Proceeds from the sale or
         refinance of the Debtor’s Real Property on the Effective Date. The allowed
         secured claim of the Class 2 creditor shall be paid by the cure and deceleration
         of any default under the promissory note, and payment in full of such amount
         plus any amount which the Class 2 creditor may be entitled to as damages
         under 11 U.S.C. §1124(2) on the Effective Date. To the extent that the Debtor
         and the Class 2 creditor dispute any such amount, such amount shall be
         determined by the Court. To the extent that any allowed secured claim of the
         Class 2 creditor is not paid in full, such unpaid amount shall be allowed as an
         unsecured claim and paid as provided for in Class 3 of the Plan. Upon payment in
         full, the lien securing the Class 2 claim shall be released.

         (Docket No. 53 at p. 7, § 3.1) (emphasis added).

        28.    The Plan is silent as to how the Debtor is able to “cure” the defaults under the
 Note and “decelerate” the Note which matured over five (5) months ago.

         29.        The Debtor intends to implement the Plan as follows:
          
         (e) The Debtor will continue to list its Real Property for sale or refinance and will
         pay the holders of allowed secured claims secured by lien(s) on the Debtor’s Real
         Property from the Net Proceeds from the sale or refinance of its Real Property on
         the Effective Date.

         (f) The Debtor will provide adequate protection to the holders of allowed secured
         claims secured by an interest in its Real Property pending the sale or refinance of
         its Real Property by continuing maintenance of the Real Property, insurance and
         taxes.

         (h) In the event of a closing on the sale or refinance of the Debtor’s Real Property
         prior to a resolution of the amount of the Class 2 creditor’s secured claim, the
         Debtor shall, in consultation with counsel for the Class 2 creditor, provide for
         adequate Net Proceeds to be escrowed for the benefit of the holder of the Class 2



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         claim plus appropriate interest pending a determination by the Court of the
         amount of the Class 2 creditor’s claim.

         (Id. at p. 11-12, §§ 6.1(e), (f) and (h)) (emphasis added).

          30.     The Plan’s “effective date” occurs once a sale or refinance of the Property occurs.
 (Id. at p. 3, §§ 1.10 and 1.17).

        31.     According to an errata to the Plan filed by the Debtor, the Debtor hopes to sell or
 refinance the Property within one (1) year after the confirmation order of the Plan has gone final.
 (Docket No. 59).

                                          Relief Requested

        32.     Lender requests that this Court enter an order which: (i) grants Lender relief from
 the automatic stay as to the Property under Section 362(d)(1) of the Bankruptcy Code; (ii)
 dismisses this Chapter 11 case under Section 1112(b) of the Bankruptcy Code; and (iii) to the
 extent the Court does not grant stay relief and/or dismiss the Chapter 11 case, converts the
 Debtor’s case to Chapter 7.

                                     Basis for Relief Requested

 A.      Relief From the Automatic Stay for “Cause” Under Section 362(d)(1) of the
         Bankruptcy Code.

         33.    Section 362(d)(1) of the Bankruptcy Code permits a party in interest, after notice
 and a hearing, to seek relief from the automatic stay for “cause”. See 11 U.S.C. § 362(d)(1); In
 re JE Livestock, Inc., 375 B.R. 892, 897 (B.A.P. 10th Cir. 2007) (“While cause under § 362(d)(1)
 includes ‘the lack of adequate protection of an interest in property,’ it is not so limited. . .
 Because ‘cause’ is not further defined in the Bankruptcy Code, relief from stay for cause is a
 discretionary determination made on a case by case basis.”).

         34.     The Tenth Circuit Court of Appeals has recognized that a bankruptcy case that is
 filed in bad faith can serve as independent “cause” for purposes of Section 362(d)(1). See In re
 Nursery Land Development, Inc., 91 F.3d 1414, 1416 (10th Cir. 1996); Pacific Rim Invs., LLP v
 Oriam, LLC (In re Pacific Rim Invs., LLP), 243 B.R. 768 (D. Colo. 2000). In the context of
 single asset real estate cases, “[f]indings of lack of good faith in proceedings based on §§ 362(d)
 or 1112(b) have been predicated on certain recurring but non-exclusive patterns, and they are
 based on a conglomerate of factors rather than on any single datum.” In re Platte River Bottom,
 LLC, 2016 Bankr. LEXIS 186 at *27-28 (Bankr. D. Colo. 2016) (citing In re Little Creek Dev.
 Co., 779 F.2d 1068, 1072-73) (5th Cir. 1986)). The following non-exclusive “conglomerate of
 factors” are applied to determine whether a single asset real estate debtor has filed its case in bad
 faith:
  
         (i) the debtor has one asset, such as a tract of undeveloped or developed real
         property; (ii) the secured creditor’s liens encumber the tract; (iii) there are


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         generally no employees except for the principals; (iv) there is little to no cash
         flow; (v) there are no available sources of income to sustain a plan of
         reorganization or to make adequate protection payments; (vi) there are only a few,
         if any, unsecured creditors whose claims are relatively small; (vii) the property
         has usually been posted for foreclosure because of arrearages on the debt and the
         debtor has been unsuccessful in defending actions against the foreclosure in state
         court; and (viii) the debtor and one creditor may have proceeded to a stand-still in
         state court litigation, and the debtor has lost or has been required to post a bond
         which it cannot afford.

         In re Little Creek Dev. Co., 779 F.2d 1068, 1072-73) (5th Cir. 1986).

         35.     In addition to the Little Creek factors, another division of this Court has stated
 that the following are relevant for purposes of a bad faith failing: (a) the debtor has no ongoing
 business; and (b) the Chapter 11 filing stopped the foreclosure. In re Gunnison Ctr. Apts., LP,
 320 B.R. 391, 399 (Bankr. D. Colo. 2005) (citing Nursery Land Development, Inc., 91 F.3d at
 1416)). Furthermore, when a specific purpose of the bankruptcy filing is to “frustrate” a
 creditor’s legitimate foreclosure action bad faith is present. Nursery Land Development, Inc., 91
 F.3d at 1416. “Bad faith is found when the cumulative effect of these or other factors leads to
 the inescapable conclusion that use of the bankruptcy laws by the debtor is inappropriate.” In re
 H.T. Pueblo Props., LLC, 2011 Bankr. LEXIS 5231, at *11-12 (Bankr. D. Colo. Dec. 30, 2011).

         36.   As explained below, numerous indicia of bad faith exists under the Little Creek
 factors and the Nursery Land factors. Accordingly, the Court should grant relief from the
 automatic stay, pursuant to Section 362(d)(1) of the Bankruptcy Code, because “cause” exists
 when reviewing the cumulative effect of all relevant factors.

         (i)        The Debtor’s Only Meaningful Asset is the Property Which is Encumbered
                    by Lender’s First Position Lien.

         37.     The Debtor’s main asset in this case is the Property, and Lender’s DOT validly
 encumbers the Property with a first position lien. (Supra at ¶¶ 6-7 and 18). Furthermore, the
 Lender’s lien—other than any lien held by Adams County for unpaid taxes—is the only
 encumbrance against the Property. (Supra at ¶ 20). While the Debtor purports to have a
 promissory note payable from HTR and HTP, i.e., intercompany loans, the Debtor has indicated
 that collection of such payable is “likely uncollectible”. (Supra at ¶ 19). Additionally, while the
 Debtor has some outstanding A/R, the Debtor has taken no formal steps to collect such A/R and
 that the A/R is approximately 6 months outstanding. (Supra at ¶¶ 25(xii)-(xiii)). Thus, for all
 intents and purposes, the Debtor’s only real asset is the Property. Accordingly, the 1st and 2nd
 Little Creek factors favor a finding of bad faith.

         (ii)       The Debtor has 1 Employee and Generates no Cash Flow Whatsoever.

        38.    The Debtor appears to have only 1 employee—Ms. Gallegos—a bookkeeper. The
 Debtor does not generate any income due to the fact that the HTR Lease and HTP Lease are non-
 performing and in default. (Supra at ¶ 25(vi)-(viii)). The HTR Lease and HTP Lease have been


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 non-performing since the middle of 2017, and the Debtor has taken no steps to terminate the
 leases. (Supra at ¶ 25(iv)). Because the Debtor has not terminated the HTR Lease and HTP
 Lease since the middle of last year, the Debtor has not—and due to the intended trajectory of the
 Plan being a sale or refinance—taken any steps to find replacement tenants in order to generate
 new cash flow for the Property. Given the “wait and see” approach of the Plan to eventually
 locate a new buyer or refinance of the property, there is no cash available to sustain a plan of
 reorganization. Also, due to the absence of any cash flow, the Debtor cannot follow through on
 its promise in the Plan to provide adequate protection “by continuing maintenance of the Real
 Property, insurance and taxes.” (Supra at ¶ 29). Accordingly, the 3rd, 4th, and 5th Little Creek
 factors all favor a finding of bad faith.


               (iii)          The Debtor has Only 2 Remaining Unpaid Unsecured Creditors.

        39.     The Debtor’s schedules reveal that there are only 3 unsecured creditors: (i) Henzel
 with a claim in the amount of $1,200,000; (ii) Owners Insurance Company in an “unknown”
 amount that is disputed, contingent and unliquidated, and (iii) Xcel Energy in the amount of
 $32,000. (Supra at ¶ 21). However, the Debtor testified at the 341 Meeting that Xcel Energy’s
 claim had been paid in full post-petition. (Supra at ¶ 25(x)). Thus, the only unsecured claimants
 that remain are those of Henzel and Owners Insurance Company.2 Accordingly, the 6th Little
 Creek factor favors a finding of bad faith.

               (iv)           The Debtor Filed This Chapter 11 Case on the eve of a Foreclosure Sale.

         40.     As set forth above, this case was filed on the eve of the Trustee’s Sale which
 clearly frustrated the Lender’s valid foreclosure action. (Supra at ¶¶ 14-15). The Note matured
 by its terms on October 25, 2017. (Supra at ¶ 13). Furthermore, Lender had not received a
 payment due under the Note since June of 2017. Notwithstanding the pendency of the Trustee’s
 Sale, Debtor turned down an offer to purchase the Property for $5.5 million that would have
 roughly paid off—in full—all of its creditors and would have produced a return to equity of
 nearly $800,000. (Supra at ¶ 25(xiv)). Moreover, Debtor never communicated this offer to
 Lender in an attempt to put the Trustee’s Sale on hold. (Supra at ¶ 25(xvii)). When asked at the
 341 Meeting why the Debtor did not accept the $5.5 million offer, the Debtor, in part, responded
 “it was too low”. (Supra at ¶ 25(xv)). These facts are likely the most egregious facts in the case
 and demonstrate that, immediately before the Petition Date, the Debtor blatantly ignored its
 fiduciary duty to its creditors and instead commenced this case solely to find a higher price and
 deprive Lender of its default interest. Debtor’s maneuvers serve only to line the pockets of
 Debtor’s equity to the detriment of Lender’s bargained for contractual rights. Accordingly, the
 7th Little Creek factor favors a finding of bad faith along with the foreclosure factors of
 Gunninson Center Apartments and Nursey Land Development.

                                                             
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   Moreover, Henzel’s claim raises additional questions as to its legitimacy. Apparently, Henzel is someone who the
 Debtor has known over the years who happened to loan the Debtor approximately $1.2 million in order to improve
 property formerly owned by the Debtor. However, Henzel never took a security interest in the property that his loan
 proceeds were used to improve. Given the length of relationship between the Debtor and Henzel along with the
 failure to take any collateral to secure a $1.2 million loan, Lender questions whether Henzel’s claim is truly
 legitimate and at arm’s length.

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         (v)        The Debtor has no Current Business Operations to Reorganize.

         41.     “Bad faith is commonly found in single asset cases involving debtors with no
 current business operations to reorganize.” In re Platte River Bottom, LLC, 2016 Bankr. LEXIS
 186, at *26 (Bankr. D. Colo. 2016); In re Pacific Rim Investments, LLP, 243 B.R. 768 (D. Colo.
 2000) (Debtor, which owned an office building, filed bankruptcy petition to avoid adverse
 outcome of state court litigation. Bad faith found even though debtor had equity in the asset and
 had filed a plan.).

         42.     In this case, the Debtor has no ongoing business operations to reorganize. The
 Debtor was formed for the purpose of collecting rents from both HTR and HTP in order to pay
 the mortgage obligation to Lender. (Supra at ¶ 25(ii)-(iii)). The HTR Lease and HTP Lease
 have been non-performing since the middle of 2017 and both tenants have failed to make any
 rental payments to the Debtor. (Supra at ¶ 25(iv) and (vii)). Furthermore, the Debtor has taken
 no effort to terminate and enforce the respective leases. (Supra at ¶ 25(viii) and (xi). It is
 unclear whether the Debtor has taken any efforts to find any replacement tenants for HTR and/or
 HTP. Instead, the Debtor has chosen to let Universal remain in the Property for de minimis rent,
 i.e., $200 per day, for the month of April 2018. (Supra at ¶ 25(ix)). Lastly, the Debtor’s
 intention in this Chapter 11—as evidenced through its Plan—is to sell the Property or refinance
 Lender’s Note. (See supra at ¶¶ 27 and 29). Thus, there is no reorganization that will occur in
 this case. Accordingly, Lender submits that the lack of having any business to reorganize is
 another instance of bad faith. See In re Platte River Bottom, LLC, 2016 Bankr. LEXIS 186, at
 *26.

         43.    Accordingly, Lender submits that the cumulative effect of the “conglomerate of
 factors” above lead to the inescapable conclusion that this case was filed in bad faith and that
 “cause” exists in order to grant relief from the automatic stay under Section 362(d)(1) of the
 Bankruptcy Code.

 B.      Dismissal for “Bad Faith” Pursuant to Section 1112(b) of the Bankruptcy Code.

         44.    Section 1112(b) of the Bankruptcy Code allows the Court to dismiss this Chapter
 11 case for “cause” under 16 enumerated factors. See 11 U.S.C. § 1112(b)(4). “While bad faith
 is not an enumerated factor under § 1112(b), ‘[i]t is well established under the Bankruptcy Code,
 as it was under the Bankruptcy Act, that a Chapter 11 Petition must be filed in good faith, and if
 not, dismissal of the case is an appropriate remedy.’” In re Springs Hosp., Inc., 2006 Bankr.
 LEXIS 1804, at *8 (Bankr. D. Colo. 2006) (citing Pacific Rim Invs., LLP v. Oriam, LLC (In re
 Pacific Rim Invs., LLP), 243 B.R. 768, 771 (D. Colo. 2000). “The list of factors that may
 constitute ‘cause’ under § 1112(b) is non-exclusive.” In re Springs Hosp., Inc., 2006 Bankr.
 LEXIS, at *8 (citing H.R.Rep. No. 95-595, at 406 (1977), reprinted in 1978 U.S.C.C.A.N. 5963,
 6362). In addition to the factors enumerated in Section 1112(b) of the Bankruptcy Code, the
 Court may consider the factors identified above for purposes of establishing “cause” under
 Section 362(d)(1) of the Bankruptcy Code. See Udall v. FDIC (In re Nursery Land Dev., Inc.),
 91 F.3d 1414, 1416 (10th Cir. 1996).



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        45.     Lender hereby incorporates its argument made in the above section of this Motion
 regarding relief from stay under Section 362(d)(1) of the Bankruptcy Code to demonstrate that
 “cause” exists to dismiss this case pursuant to Section 1112(b). Lender additionally asserts the
 following facts and circumstances further demonstrate this case was filed in bad faith and should
 be dismissed for “cause”.
  
         (i)        Debtor’s Plan is Patently Unconfirmable and Just Leads to Additional Delay.

         46.      Debtor’s proposed Plan intends to pay Lender “the cure and deceleration of any
 default under the promissory note” under Section 1124(2) of the Bankruptcy Code. (Supra at ¶
 27). As of October 25, 2017 and to the present date, there is nothing to “decelerate” as the Note
 has been due since it matured by its terms, i.e., the bell cannot be un-rung. (Supra at ¶ 13).
 Furthermore, the only possible “cure” at this point would be payment in full of all amounts due
 and owing thereunder which the Debtor has no ability to satisfy. Thus, the Debtor’s Plan cannot
 satisfy Section 1124(2) of the Bankruptcy Code because such provision does not, and cannot,
 apply to the fully matured Note. See Hepner v. PWP Golden Eagle Tree, LLC (In re K&J
 Props.), 338 B.R. 450, 461 (Bankr. D. Colo. 2005) (stating that Section 1124(2) cannot
 decelerate and reinstate a note that matured prepetition). Furthermore, because Lender is
 oversecured, any Plan which does not authorize the Lender to receive default interest under the
 Note leads to Debtor’s equity being inequitably enriched and is, thus, not proposed in good faith
 as required under Section 1129(a)(3) of the Bankruptcy Code. Lastly, the Debtor’s Plan is not
 feasible, pursuant to Section 1129(a)(6) of the Bankruptcy Code, because it requests 1 year to
 sell the Property or refinance the Note thereby unfairly exposing Lender to the volatilities of the
 commercial real estate and lending markets. Moreover, the Debtor rejected an offer to sell the
 Property for $5,500,000 just days prepetition so there is no legitimate justification for needing 1
 year to sell the Property. Accordingly, Debtor’s Plan cannot comply with Section 1129(a)(1), (3)
 and (6) of the Bankruptcy Code and is patently unconfirmable.

         47.     Allowing the Debtor to proceed towards confirmation of a patently unconfirmable
 Plan merely leads to additional delay which Lender has repeatedly encountered with the Debtor
 prepetition, e.g., failure to make regular payments when due under the Note dating back to July
 of 2017, failure to pay the Note when it matured, and initiating this Chapter 11 case on the eve of
 the Trustee’s Sale. The ensuing delay associated with the Debtor’s unconfirmable Plan should
 constitute “cause” under Section 1112(b) of the Bankruptcy Code.

         (ii)       Debtor’s Plan is Intended to Gore Lender’s Ox to the Direct Benefit of
                    Debtor’s Equity.

        48.      Debtor’s Plan, which seeks to pay Lender “appropriate interest” as determined by
 the Court, is clearly intended to reduce the Lender’s right to receive default interest. (Supra at ¶
 29). Lender is undoubtedly oversecured in this case as the value of the Property is somewhere in
 the range of $5,500,000 to $8,250,000. (Supra at ¶ 25(xiv) and (xvi)). Because Lender is
 substantially oversecured, Lender is entitled to post-petition default interest, costs and attorneys’
 fees. See 11 U.S.C. § 506(b).




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          49.    The Debtor and Lender contracted for the provision of default interest, at the rate
 of 28%, in the event the Debtor defaulted on its obligations. (See Ex. A – Loan Agreement).
 The 28% default interest rate was a matter of pricing between the Lender and the Debtor
 according to the risk of making the loan. In this case, the Debtor defaulted by failing to make
 required payments under the Note and eventually failing to pay the Note on the maturity date
 back in October of 2017. These defaults entitle Lender to receive it’s bargained for default
 interest rate of 28% which the Debtor agreed to pay upon default. Assuming the Debtor is able
 to sell the Property for $6,500,000, all 3 remaining creditors in this case would be paid in full
 (the aggregate amount of all unpaid scheduled claims is approximately $4,788,390.86). Such a
 scenario would result in the Debtor’s equity receiving approximately more than $1,700,000.
 Thus, the obvious intent of the Debtor’s Plan is to avoid paying default interest which has the
 effect of putting more money directly in the Debtor’s equity’s pocket in lieu of paying Lender
 according to the Note which the Debtor executed. There is no equitable justification for goring
 the Lender’s ox when: (i) the estate is solvent, (ii) the few other unsecured creditors will be paid
 in full from the proceeds of a sale of the Property, and (iii) the Debtor’s equity will be receiving
 a substantial distribution from the remaining proceeds. Why should the Debtor be given 1 year
 to sell the Property which allows its equity to further line their pockets while being permitted to
 avoid paying its bargained for default interest to Lender? A bankruptcy case cannot be filed in
 good faith when a debtor’s goal is to wrongfully deprive an oversecured lender of bargained for
 interest for the direct benefit of the debtor’s equity.3 NMSBPCSLDHB, L.P. v. Integrated
 Telecom Express, Inc. (In re Integrated Telecom Express, Inc.), 384 F.3d 108, 119 (3rd Cir.
 2004) (“At its most fundamental level, the good faith requirement ensures that the Bankruptcy
 Code’s careful balancing of interests is not undermined by petitioners whose aims are antithetical
 to the basic purposes of bankruptcy.”).

         50.    Further, Lender asserts that In re Consolidated Operating Partners, LP, 91 B.R.
 113 (Bankr. D. Colo. 1988), is instructive on the foregoing. In In re Consolidated Operating
 Partners, the Bankruptcy Court considered whether a secured creditor of a solvent debtor should
 be allowed to charge and collect default interest. The Court held that, because the debtor was
 solvent, an order precluding the lender from charging and collecting default interest would only
 inure to the benefit of the debtor’s equity owners, and give them a windfall, which would be
 improper and inequitable:
                
               The Court is not persuaded by the debtor’s argument that in this instance strict
               adherence to the parties’ interest rate is not required by 11 U.S.C. § 506(b). 11
               U.S.C. § 506(b) gives an oversecured creditor the right to accrue interest at the
               rate provided for under the agreement between the creditor and its debtor. In re
               Skyler Ridge, 80 B.R. 500 (Bankr. C.D. Calif. 1987). The equities of this case do
               not favor any deviation from the imposition of the Late Payment Rate. The benefit
               derived from any reduction in the contract rate would not inure to the creditors but
               instead would be a windfall to the debtor. Such a result would mean that any
               solvent debtor seeking to avoid the cost of default rate interest could file for
               Chapter 11. No such result was intended by Congress. Under the circumstances of

                                                             
 3
   Lender again notes that at no point did Debtor ever communicate the existence of the $5,500,000 offer to purchase
 the Property that was made just days before the Petition Date.  

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         this case, the debtor should be held to the Late Payment Rate agreed to prior to
         the debtor's bankruptcy filing.
         Id. at 117.  

 For the reasons asserted above, the equities of this case do not favor a departure from the parties
 bargained for contractual interest rate as doing so would only benefit the Debtor’s equity.

         51.     Moreover, a 28% default interest rate is not a penalty under Colorado law and is
 well within the range of reported cases within this District for authorizing default interest to
 oversecured lenders. See Hepner v. PWP Golden Eagle Tree, LLC (In re K&J Props.), 338 B.R.
 450 (Bankr. D. Colo. 2005) (approving a 36% default interest rate for oversecured creditor’s
 claim); In re Wood Family Interests, Ltd., 135 B.R. 407 (Bankr. D. Colo. 1989) (approving a
 24% default interest rate for oversecured creditor’s claim). The facts of this case are remarkably
 similar to those of Hepner, where the secured creditor’s note matured prepetition and the secured
 creditor was oversecured. Hepner, 338 B.R. 450. In Hepner, the secured creditor’s note
 provided for the accrual of default interest at the rate of 36%. Id. at 453. In response to the
 Trustee’s attempts to have the appropriate rate of interest judicially determined below the 36%
 default rate, Judge Campbell stated:

         Being guided by a judge’s sense of what is fair under the circumstances, as
         opposed to the language of the Bankruptcy Code and the dictates of non-
         bankruptcy law, may be a precariously slippery slope. If a bankruptcy court can
         decide, in particular circumstances, that an otherwise enforceable default interest
         rate is too high, what restrains it from also determining, without relying on
         Bankruptcy Code language or nonbankruptcy law, that the amount paid by a
         debtor on any credit sale of goods or services is inequitable in the circumstances,
         and thus unenforceable as a claim in bankruptcy? In a climate of skeptical co-
         equal branches of government and a citizenry that is poorly informed about the
         import of judicial independence, substituting the court’s equitable powers for the
         marketplace, as it is constrained by legislative dictate, is not without risks to
         stability of the judiciary that may accompany failure to restrain judicial discretion.
         This nation’s tradition of a “rule of law” embraces the notion of a populace that
         will accept the courts as ultimate arbiter in applying the law to resolve disputes.
         In order to maintain this tradition, courts must nurture the public’s confidence that
         courts will not, in the name of judges’ vision of justice or equity, substitute
         judges’ will for that of the people, as expressed in the statutes enacted by the
         people’s elected representatives.

         Id. at 460.

        52.     Judge Campbell concluded that “it is not the Court’s charge with respect to [the
 secured creditor’s] interest rates to determine what is reasonable or equitable” and, therefore,
 allowed the secured creditor to accrue default interest on account of its secured claim at 36%. Id.
 Accordingly, any effort by the Debtor to deprive Lender of its bargained for default interest not
 only violates Section 506(b) of the Bankruptcy Code but also results in Debtor’s equity receiving
 an impermissible and direct benefit. Lender submits this is another instance of “cause” and that


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 the Court may dismiss this Chapter 11 case for bad faith under Section 1112(b) of the
 Bankruptcy Code.

 C.       If the Court Denies the Motion to Dismiss Under Section 1112(b) of the Bankruptcy
          Code, the Court may Alternatively Convert the Case to Chapter 7.

         53.    If the Court is unwilling to dismiss the case, the Court may still convert the
 Chapter 11 case to Chapter 7. A conversion to Chapter 7 would be in the best interests of all
 creditors—not just Lender—as a neutral Chapter 7 trustee would be appointed for the sole
 purpose of selling the Property as quickly as possible to get all creditors paid in full. Such a
 scenario would appropriately divest the Debtor’s equity of being in the self-interested position of
 turning down sale offers which could pay off all creditors in full but were “too low” as to be
 acceptable to the Debtor. Accordingly, to the extent the Court does not grant stay relief under
 Section 362(d)(1) of the Bankruptcy Code, or dismiss the case under Section 1112(b), the Court
 may still convert the case to Chapter 7 as doing so would be in the best interests of all creditors.

        WHEREFORE, Lender respectfully requests that the Court enter its Order which: (i)
 grants Lender relief from the automatic stay for “cause” pursuant to Section 362(d)(1) of the
 Bankruptcy Code; (ii) dismisses Debtor’s case pursuant to Section 1112(b) of the Bankruptcy
 Code for “cause”; (iii) to the extent the Court does not dismiss the Debtor’s case, converts the
 case to Chapter 7; and (iv) for such other and further relief this Court deems fair and proper
 under the circumstances.

 Dated:             Denver, Colorado
                    April 10, 2018
                                               MOYE WHITE LLP

                                               s/ Timothy M. Swanson
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                                     CERTIFICATE OF SERVICE

         I hereby certify that on April 10, 2018, I electronically filed the foregoing with the clerk
 of the court using the CM/ECF system, which will send notification of such filing to all parties
 receiving electronic notice from the Court’s CM/ECF system, and via first class mail on the
 parties identified below and all parties identified on the Debtor’s Creditors’ Matrix as of April
 10, 2018 attached hereto as Exhibit 1.


                                               s/ Timothy M. Swanson                  


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 4829-5610-8385.2
             Case:18-10965-TBM
Label Matrix for  local noticing Doc#:75
                                       11380Filed:04/19/18        Entered:04/19/18
                                             E. Smith Rd Investments, LLC                               14:01:45
                                                                                                         11380 SMITH RDPage16
                                                                                                                        LLC   of 17Exhibit
1082-1                                 Kresher Capital                                                    11380 Smith Road                 1
Case 18-10965-TBM                      3050 Aventura Blvd., 3rd Floor                                     Aurora, CO 80010-1406
District of Colorado                   Miami, FL 33180-3112
Denver
Tue Apr 10 10:05:57 MDT 2018
Adams County Treasurer                 Robert Samuel Boughner                                             Colorado Department Of Revenue
Brigitte Grimm, Treasurer              Byron G. Rogers Federal Building                                   1375 Sherman St.
4430 S. Adams County Pkwy              1961 Stout St.                                                     Room 504
Brighton, CO 80601-8222                Ste. 12-200                                                        Attention Bankruptcy Unit
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Division of Insurance                                Central Regional Office                              Midwest Regional Office
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                                                                                           (u)Gregory Giometti,  Esq.of 17
                                                                                           Gregory R. Giometti & Assoc.
                                                                                           50 South Steele, #480



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                                                                                              Total                 23
